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 1
 2                               UNITED STATES DISTRICT COURT
 3                                      DISTRICT OF NEVADA
 4                                                  ***
 5    MARSHALL A. KHAN,                                     Case No. 2:21-cv-00003-KJD-VCF
 6                                             Plaintiff,      ORDER DENYING PLAINTIFF’S
                                                               MOTION RE ADMIRALTY LAW
 7           v.
 8    ANDREW SAUL, Commissioner of Social
      Security,
 9
                                            Defendant.
10
            Before the Court is Plaintiff’s Motion re Admiralty Law Notice of Objection Under Rule
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     46 of Civil Procedures (ECF #20). The Court adopted and affirmed the magistrate judge’s
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     recommendation denying Plaintiff’s request to proceed in forma pauperis and administratively
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     closed the case on February 23, 2021. (ECF #16). Plaintiff did not file an objection to the report
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     and recommendation but filed multiple documents in opposition, including a Petition for Judicial
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     Review (ECF #10), Motion for Exclusive Rights (ECF #11), Motion for Estoppel against the
16
     Government (ECF #12), and Motion for Entry of Clerk’s Default Judgment (ECF #15).
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            Plaintiff filed this motion on March 15, 2021, after the action had been closed. He then
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     appealed the Court’s adoption of the report and recommendation on March 24, 2021. (ECF #22).
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     On August 16, 2021, the Ninth Circuit Court of Appeals dismissed the appeal as frivolous. (ECF
20
     #26) and the Court submitted the order on the Ninth Circuit mandate on November 19, 2021.
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     (ECF #28). The motion appears to be 22 copied pages of a law treatise on federal jurisdiction and
22
     maritime law. It is irrelevant and was filed after the case was closed. The motion is denied.
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            IT IS THEREFORE ORDERED that Plaintiff’s Motion re Admiralty Law (ECF #20) is
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     DENIED.
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     Dated this 23rd day of November, 2021.
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28                                                  Kent J. Dawson
                                                   United States District Judge
